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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                              Plaintiffs,           Case No. 1:20-cv-03010-APM

        v.                                          HON. AMIT P. MEHTA
 GOOGLE LLC,

                              Defendant.


 STATE OF COLORADO, et al.,

                              Plaintiffs,           Case No. 1:20-cv-03715-APM

        v.                                          HON. AMIT P. MEHTA
 GOOGLE LLC,

                              Defendant.



                                            ORDER

       It is hereby ORDERED that the Amended Scheduling and Case Management Order

entered on February 3, 2021, ECF No. 108-1, is amended as follows:

 Event                                                               New Calendar Date
 Each Party informs each non-Party of all documents produced by        July 10, 2023
 that non-party that are on that Party’s exhibit list and all
 deposition excerpts of that non-Party that have been designated
 by any Party
 Non-Parties provide notice of any objections to the potential          July 24, 2023
 public disclosure at trial of any non-Party documents or
 depositions; explain the basis for any such objections; and
 propose redactions where possible
 Parties and non-Parties meet and confer regarding confidentiality      no later than
 of non-Party documents on trial exhibit lists and non-Party           August 4, 2023
 depositions
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 Event                                                                  New Calendar Date
 Parties meet and confer regarding disputes about confidentiality          no later than
 of Party documents on trial exhibit lists                                August 4, 2023
 Joint submission regarding disputes concerning confidentiality of          Aug. 9, 2023
 Party documents on trial exhibit lists filed
 Joint submission regarding disputes concerning confidentiality of          Aug. 9, 2023
 each non-Party’s documents on the trial exhibits lists and
 designations of non-Party depositions
 Non-Party submissions regarding disputes concerning                        Aug. 9, 2023
 confidentiality of each non-Party’s documents on the trial exhibit
 lists and designations of non-Party depositions

       And it is hereby ORDERED that paragraph 23 of the Stipulated Protective Order entered

on January 21, 2021, ECF No. 98, is amended as follows:

               Disclosure at trial or at any evidentiary hearing of any document,
       testimony, or other material designated as Highly Confidential Information or
       Confidential Information will be governed pursuant to a separate court order.
       Unless otherwise directed by the Court, the Parties shall meet and confer and
       submit a recommended order outlining those procedures no later than August 7,
       2023. Upon the filing of a proposed order governing the disclosure of Highly
       Confidential Information or Confidential Information at trial or any evidentiary
       hearing, the Parties shall provide notice of such order to third parties whose
       Highly Confidential Information or Confidential Information is expected to be
       used at trial or any evidentiary hearing.

All other dates, including the trial date, shall remain unchanged. SO ORDERED.

                                                     Amit           Digitally signed
                                                                    by Amit Mehta
 Dated: July ___, 2023                               MehtaAmit P.Date:    2023.07.10
                                                     ________________________________
                                                                    22:32:21
                                                                      Mehta -04'00'
                                                        Unites States District Court Judge




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